Case 3:22-cv-00049-NKM-JCH Document 154-1 Filed 01/30/23 Page 1 of 3 Pageid#: 1421




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

   BABY DOE, et al.                                       )
                                                          )
                  Plaintiffs,                             )
                                                          )
   v.                                                     )     Case No. 3:22-cv-49-NKM
                                                          )
   JOSHUA MAST, et al.                                    )
                                                          )
                  Defendants,                             )
                                                          )
   and                                                    )
                                                          )
   UNITED STATES SECRETARY OF                             )
   STATE ANTONY BLINKEN, et al.,                          )
                                                          )
                  Nominal Defendants.                     )
                                                          )


                                DECLARATION OF JOSHUA MAST

          I, Joshua Mast, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.      I am over the age of 18 and competent to testify in this matter.

          2.      I have personal knowledge about the matters stated in this Declaration.

          3.      I am a Defendant in the above-captioned matter.

          4.      On January 3, 2023, my wife, Stephanie Mast, and I participated in an interview

   with CBS News.

          5.      Stephanie and I knew about this Court’s protective order and have made every

   effort to comply with it since we learned about it in September 2022.

          6.      Stephanie and I did not seek out media attention on this matter. We preferred to

   maintain the privacy of all parties involved, especially that of our daughter, Baby Doe.




                                                 1 of 3
Case 3:22-cv-00049-NKM-JCH Document 154-1 Filed 01/30/23 Page 2 of 3 Pageid#: 1422




          7.      After denying numerous media requests for statements or interviews, Stephanie and

   I finally agreed to talk to the media after Plaintiffs’ public discussion of the case made it untenable

   for us to remain silent—including in light of the statement issued by the Taliban containing my

   name in a manner that could endanger our daughter.

          8.      While Stephanie and I agreed to the CBS News interview request, we made sure

   that we complied with the protective order and did not authorize CBS News to use any pictures

   that would identify our daughter.

          9.      Stephanie and I did not describe our daughter’s scar. Stephanie said only that she

   recognized Baby Doe when we were united with her because of that scar.

          10.     Stephanie and I did not let CBS News take any videos or photos of our daughter’s

   face, and we dressed her in a long dress so her scar could not be identified.

          11.     Stephanie and I did not identify to CBS News where our daughter was found in

   Afghanistan. Our interview was conducted after CBS News had interviewed multiple eyewitness

   U.S. Army Rangers.

          12.     Stephanie and I did not provide any information identifying John or Jane Doe in

   that interview or in our conversations with CBS News. We did not tell CBS News John and Jane

   Doe’s names or where John and Jane Doe were from in Afghanistan.



                               [remainder of page intentionally left blank]




                                                   2 of 3
Case 3:22-cv-00049-NKM-JCH Document 154-1 Filed 01/30/23 Page 3 of 3 Pageid#: 1423
